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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

    IN RE: CONTENTS OF TIMOTHY Case No.
    BURKE’S NEWSROOM
    UNLAWFULLY SEIZED BY FBI
    AGENTS ON MAY 9, 2023

     MOTION TO UNSEAL SWORN AFFIDAVIT AND FOR RETURN OF
         THE CONTENTS OF TIMOTHY BURKE’S NEWSROOM
                UNLAWFULLY SEIZED BY THE FBI
                    RULE 41(g) F.R.CRIM. P.

       Investigative journalist TIMOTHY BURKE files this Motion to Unseal the

Sworn Affidavit and pursuant to Rule 41(g) 1 of the Federal Rules of Criminal

Procedure, for the immediate return of the contents of his newsroom, including

computers, mobile telephones, servers, hard drives, any other electronic devices,

and any and all information and data copied, reproduced or retained therefrom

that was seized from him on May 9, 2023, because the items were seized and are

retained in violation of law.

       The government’s warrant indicates they were investigating violations of 18

USC 1030, the Computer Fraud and Abuse Act, the criminal “hacking” statute,

(hereinafter “CFAA,”) and unlawful interceptions of electronic communications in

violation of 18 USC 2511, the “wiretap” statute. However, in this case, there was no


1
  Rule 41(g) provides, “A person aggrieved by an unlawful search and seizure of property or by
the deprivation of property may move for the property's return. The motion must be filed in the
district where the property was seized. The court must receive evidence on any factual issue
necessary to decide the motion. If it grants the motion, the court must return the property to the
movant, but may impose reasonable conditions to protect access to the property and its use in
later proceedings.”

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“hacking” and there was no unlawful “interception.” Mr. Burke simply obtained

public information, and reported on a matter of public concern. The government

has nevertheless shut him down, seized his materials, and still retains his

privileged information for examination in a manner that can only be described as

a “callous disregard” for his Constitutional rights. Immediate return of all the

seized items and all copies thereof is necessary.

I.     Introduction

       This case arose from Mr. Burke’s reporting about an edited interview

between Fox News’ Tucker Carlson and Kanye West (“Ye”). 2 Mr. Burke obtained

a copy of the full live stream of the interview (unedited), in which Ye made anti-

semitic and racist comments -- comments which were edited out of the Fox

broadcast. Other media outlets broadcast these live stream videos, and other

videos of similarly edited sexist and disturbing comments by Carlson found by Mr.

Burke. 3 Carlson was subsequently fired by Fox News. For its part, Fox News falsely

claimed that the unedited live streams had been “hacked,” and that they had been

unlawfully “intercepted” in violation of law. When Fox News was apparently

unable to uncover the source of their claimed “leaks” or “hacks” they apparently


2
  Without access to the affidavit in support of the warrant, the representations about why the
government seized his computers are based on both news reports and conversations with the
government. See, e.g., Jack McCordick, FBI Raid of Tampa Journalist Connected to Tucker
Carlson Leaked Clips, Vanity Fair, May 27, 2023, available at
https://www.vanityfair.com/news/2023/05/tucker-carlson-leaks-fbi-investigation-tampa-
journalist noting that Burke “was known for having “a reputation as somebody who finds
things.”
3https://newrepublic.com/post/172487/fox-begs-media-matters-stop-publishing-tucker-

carlson-videos

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outsourced their investigation to the FBI.

       No leaks or hacking occurred. With respect to the Fox News live streams,

the streams themselves were unencrypted, Internet addressable, publicly

accessible feeds open to anyone who put a URL into a browser. No userid or

password were required, and no Terms of Service breached. Mr. Burke learned of

the Internet location (the URL) of the feed by using a “demo” credential posted

publicly online by the owner of the credential and not by any unauthorized person.

This provided authorized access to a website used by streaming content providers

to host their content. The hosting website (“Website 1”) automatically delivered to

any user -- including users of their free demo service 4 -- lists of the URL’s of all live

streams hosted on the service, including the URL for the Fox News live stream.

However, access to these live streams was not restricted to users of the site, and

the streams themselves were public. As noted infra, Mr. Burke found other live

stream videos through simple searches online for URLs containing notations that

they are live feeds. The Fox News live feeds - like all live feeds collected and stored

by Burke -- are publicly addressable, Internet accessible, unencrypted broadcasts

4
  In an effort to promote a SaaS product or service, companies often provide “demonstration”
accounts to clients or prospective clients as a way for these customers to “try before they buy”
the product or online service. https://www.getbeamer.com/blog/free-trial-vs-demo-for-saas
(“Most SaaS companies use some variation of a free trial or a demo to help sell the product and
onboard customers”). These demo accounts permit lawful access to the product or service, and
are frequently shared among those who wish to try a service. The account credentials (userid
and password) for demo accounts are usually set by the issuer, not the user (e.g., credentials may
be “NamedUser-Demo” with a password of “demo”) are can often be easily guessed.
http://www.webfilesys.de/webfilesys-home/onlineDemo.html. In the case of Mr. Burke,
however, the entity to which the demo credential was issued published their userid and password
publicly on their own website.


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“in the clear.” Anyone with the right web address can view them. Access requires

no special equipment, no special tools, and no userid or password. In short, Mr.

Burke engaged in journalism. He simply collected and reported on newsworthy

content in the public domain on the internet.

       On May 9, 2023, federal agents, armed with a search warrant, carried out

the unprecedented seizure of the entirety of Mr. Burke’s newsroom, which

included his entire office, work product, source material, identity of sources,

unpublished materials and publishing equipment- seizing more than 100 Tb of

data and the hardware in which it was held (inventory, Exhibit A). 5 For more

than two months, counsel has since been engaged in efforts to effectuate the return

of Mr. Burke’s property, and as evidenced by the July 17, 2023 letter from attorney

Mark Rasch to AUSA Jay Trezevant, (Exhibit B) 6. The government has agreed to

return and not retain copies of the hard drives which contain no data related to Mr.



5
  Garcia, Justin, Tampa City Council member Lynn Hurtak’s home searched by FBI: Hurtak’s
husband, Tim Burke, said that it was his name on the search warrant., Tampa Bay Times, May 9,
2023,       https://www.tampabay.com/news/florida-politics/2023/05/08/tampa-city-council-
member-lynn-hurtaks-home-searched-by-fbi/ (last visited May 10, 2023).
6 The government disputes some of the assertions in the letter, and we accept as accurate the

government’s version. The government disputes the opening assertion that the USAO in Tampa
is having its communications “regularly reviewed” by Main Justice (Exhibit B, p. 1, par. 1) but
clarifies that “there are a number of issues and DOJ policies that require review at different
levels.” Similarly, we did not mean to suggest that the USAO was not taking the matter seriously
when we noted that this case was not a “priority” (Exhibit B, p. 15, par 2) and believe that the
AUSA is working diligently and in good faith -- particularly in efforts to return materials that are
not covered by the warrant, none of which have yet been returned. Additionally, by way of
clarification, the requirement that Mr. Burke waive his Fifth Amendment rights (Exhibit B, p.2,
par. 2) is not a precondition of his access to the cell phone and the MFA, but rather was intended
to speed the process of cloning the phone - with the FBI and CART team insisting on making the
forensic mirror before permitting Mr. Burke to retrieve his MFA credentials.


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Burke’s access to and publication of live feeds after August of 2022 - the period

mentioned in Attachment B of the Warrant. 7 In short, the government has agreed

to return -- over more time -- materials that were never covered by the warrant,

some of which include journalistic work product, sources and methods, privileged

communications, and related materials. They have not agreed to provide copies of

his work product, including the thousands of live feeds which make up the

privileged contents of Mr. Burke’s newsroom.

       As a result of the seizure, Mr. Burke has ceased publication, cannot access

his investigative materials, and cannot access his social media accounts which are

locked by MultiFactor Authentication (MFA) uniquely tied to the seized items. 8

The search of a journalist for records related to protected newsgathering, and the

seizure and retention of these materials cause irreparable harm, and entitle Mr.

Burke to relief under Rule 41(g) F.R. Crim. P. for immediate return of the seized

items, materials, information, and all forensic copies made by the government.




7 The government has also agreed to provide copies of the portions of drives which contain both

materials covered and not covered by the Warrant Attachment, but with those materials covered
by the warrant deleted, and with the government retaining the original drives containing the
mixed materials. Finally, the government has indicated that it wishes Mr. Burke to provide his
Personal Identification Number (PIN) and password to access a seized cell phone in order to
facilitate the government's cloning of the phone as a precondition for permitting him to access
the phone (or its clone) to recover keys to access his social media accounts. Mr. Burke has been
locked out of these accounts since the raid.
8 On July 21, 2023, Mr. Burke was permitted to visit the offices of the FBI in Tampa and have

limited access to the cell phone containing the credentials necessary for MultiFactor
Authentication to his Twitter account. We believe that, as of that date, Mr. Burke will be able to
access the Twitter account that he had been locked out of for seventy-three days.

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II.    Background

       Timothy Burke is a respected journalist who has reported for many years on

matters of public concern. During his reporting career, he has developed a

specialization in finding and reporting on information found in streaming live

video feeds. He has a well-deserved reputation as a “person who finds things” on

the Internet, 9 just as he did in this instance. For example, his work exposing the

hoax behind Notre Dame football player Manti Teo’s fake dead girlfriend made

him a finalist for the Newhouse School’s John M. Higgins Award for Best In-

Depth/Enterprise Reporting. 10 He appeared in a 2022 Netflix documentary called

“Untold: The Girlfriend Who Didn’t Exist,” which recounted his reporting of the

Manti Te’o story and the resulting scandal. 11 His video about Sinclair Broadcast

Group’s “extremely dangerous to our democracy “ fake news screed earned him a

National Magazine Award nod. 12 Since leaving his role as Director of Video

Journalism for The Daily Beast, 13 he has worked as a freelance journalist


9Jack McCordick,    FBI Raid of Tampa Journalist Connected to Tucker Carlson Leaked Clips,
Vanity Fair, May 27, 2023, available at https://www.vanityfair.com/news/2023/05/tucker-
carlson-leaks-fbi-investigation-tampa-journalist noting that Burke “was known for having “a
reputation as somebody who finds things.”
10 Wendy S. Loughlin, Newhouse Announces Finalists in 2014 Mirror Awards Competition,

Syracuse University News, April 1, 2014,https://news.syr.edu/blog/2014/04/01/newhouse-
announces-finalists-in-2014-mirror-awards-competition-87268/
11 Untold: The Girlfriend Who Didn’t Exist, Ryan Duffy and Tony Vainuku, Player’s Tribune

Production Company, 2022 Netflix series.
12 Emily Stewart, Watch: dozens of local TV anchors read the same anti-“false news” script in

unison. Dozens of anchors. Same Sinclair script., Vox News, April 2, 2018, available at
https://www.vox.com/policy-and-politics/2018/4/2/17189302/sinclair-broadcast-fake-news-
biased-trump-viral-video
13 Rachel Olding, FBI Raid on Journo’s Home Reportedly Related to Embarrassing Tucker Carlson


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contributing to publications both national and local. His work is also regularly

featured on both traditional cable news channels and programs such as Last Week

Tonight with John Oliver and The Daily Show. Some of his investigative projects

are published under his own byline, and for others, he is contracted by news

organizations and other reporters to contribute his specific set of digital

newsgathering and investigative reporting skills. Most recently, he published a

video of Oakland A’s announcer Glen Kuiper appearing to use a racial slur on-air

during a broadcast--an act that, after more than 15 million people viewed Mr.

Burke’s video, led to Kuiper’s firing. 14

       Mr. Burke also works as a digital media consultant, helping to launch news

start-ups and training journalists with his unique skills of online newsgathering

and reporting. The tools he's developed and shared with reporting partners have

produced some of the most-seen viral news videos of all time. His media clients

rely on the tools he has built, which exist solely in the hardware and backup drives

currently in the possession of the FBI. He has been unable to report news or service

his clients' reporting since the search warrant was executed; both his journalism

career and his business have been brought to a complete standstill and he is unable

to earn a living, as his career and his reporting are inseparable from the hardware

and intellectual property seized by the government. Moreover, the seizure of his


Vids, Daily Beast, May. 27, 2023 , available at https://www.thedailybeast.com/raid-on-
journalist-tim-burkes-home-related-to-tucker-carlson-videos-report
14 A's announcer Glen Kuiper apologizes for appearing to use racial slur during broadcast, ESPN

News Services, May 6, 2023, available at https://www.espn.com/mlb/story/_/id/37504577/a-
announcer-glen-kuiper-apologizes-appearing-use-racial-slur-broadcast.

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journalistic work product, resources, and hardware has also inhibited the

reporting and First Amendment activities of his media clients. He is a “person who

finds things'' on the Internet. What he is not, however, is a criminal.

III.    Standard for Return of Property

        “A motion to return seized property under Fed.R.Crim.P. 41(g), is a motion

in equity, in which courts will determine all the equitable considerations in order

to make a fair and just decision.” 15 When considering an equitable remedy in the

course of an ongoing criminal action, the exercise of equitable jurisdiction must be

made “with caution and restraint” and only in “exceptional cases where equity

demands intervention.” 16 This depends then on the so-called “Richey” factors: 17

“(1) whether the government displayed a "callous disregard" for the plaintiff's

constitutional rights; (2) "whether the plaintiff has an individual interest in and

need for the material whose return he seeks"; 18(3) "whether the plaintiff would be

irreparably injured by denial of the return of the property"; and (4) "whether the


15 United States  v. Howell, 425 F. 3d 971, 974 (11th Cir. 2005).
16 Trump v. United States, 54 F. 4th 689 (11th Cir.    2022), citing In re $67,470, 901 F.2d 1540, 1544
(11th Cir., 1990).
17 Richey v. Smith, 515 F.2d 1239, 1243–44 (5th Cir. 1975) Because the Fifth Circuit issued this

decision before the close of business on September 30, 1981, it is binding precedent in the Eleventh
Circuit. See Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc) cited in Trump
v. United States, 54 F. 4th 689, 694 (11th Cir., 2022)
18 A motion to return may be filed by any person “aggrieved by an unlawful search and seizure

or by the deprivation of property.” In re Sealed Search Warrant and Application for a Warrant by
Telephone or Other Reliable Electronic Means, 11 F.4th 1235, 1245-1246 & n.6 (11th Cir. 2021). Harbor
Healthcare System, L.P. v. United States, 5 F.4th 593, 59 note 2 (5th Cir. 2021). (“When the motion
[to return property] is made by a party against whom no criminal charges have been brought,
such a motion is in fact a petition that the district court invoke its civil equitable jurisdiction.”)
United States v. Comprehensive Drug Testing, Inc., 621 F.3d 1162, 1172 (9th Cir. 2010) (en banc),
overruled in part on other grounds, Hamer v. Neighborhood Housing Services of Chicago, 138 S. Ct.
13, 21, 199 L. Ed. 2d 249 (2017).

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plaintiff has an adequate remedy at law for the redress of his grievance." Primary

consideration is given to the first of these factors. 19 To file a motion for return of

property, the seizure need not have been unlawful. 20 Even if the initial seizure

were lawful, the court has the equitable power to order the materials to be returned

where, as here, the continued retention of these documents is unlawful. 21

IV.    Argument

       The government searched for and seized Mr. Burke’s Newsroom based on a

novel and unsupported interpretation of the CFAA and wiretap laws, without

appropriate deference to his status as a journalist in a way that acted as a prior

restraint on his speech, and both the search and continued retention of his work

product demonstrates a continuing callous disregard for his Constitutional rights

under Richey.



19 The “foremost consideration” for a court when deciding whether it may exercise its equitable

jurisdiction in this context. United States v. Chapman, 559 F.2d 402, 406 (5th Cir. 1977). When
considering this factor, our precedent emphasizes the “indispensability of an ‘accurate allegation’
of ‘callous disregard.’” Id. (quoting Richey, 515 F.2d at 1243); See also Hunsucker v. Phinney, 497
F.2d 29, 34 n.10 (5th Cir. 1974).(collecting cases).
20 Amendments to motion to return Rule in 1989 were designed to expand the Rule’s coverage to

include motions to return property lawfully seized. United States v. Comprehensive Drug Testing,
Inc., 621 F.3d 1162, 1173 (9th Cir. 2010) (en banc), overruled in part on other grounds, Hamer v.
Neighborhood Housing Services of Chicago, 138 S. Ct. 13, 21, 199 L. Ed. 2d 249 (2017). Regardless of
whether initial seizure of property under criminal forfeiture statute was lawful or unlawful,
district court had authority under Rule of Criminal Procedure dealing with motions for return of
property to address both lawfulness of initial seizure and continued retention of property. United
States v. Schmitz, 153 F.R.D. 136 (E.D. Wis. 1994).
21 The Advisory Committee Note to the 1989 amendment states in part, “The amendment to Rule

41(e) conforms the rule to the practice in most districts and eliminates language that is somewhat
confusing.” As amended, Rule 41(e) [the precursor of what is now Rule 41(g)] provides that an
aggrieved person may seek return of property that has been unlawfully seized, and a person
whose property has been lawfully seized may seek return of property when aggrieved by the
government’s continued possession of it.”

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 A.     The Search and Seizure of Mr. Burke’s Newsroom Violated His
        Rights Under the First and Fourth Amendments, and Displayed A
        “Callous Disregard” for His Constitutional Rights
        The government has engaged in an almost unprecedented search for and

 seizure of a journalist’s work, including information he collected with the intent to

 disseminate it to the public. DOJ regulations recognize the harm to the First

 Amendment resulting from even seeking a warrant to seize a newsroom. 22

 Similarly, the Privacy Protection Act (‘PPA”), 42 USC 2000aa(a), prohibits the

 government from even seeking a warrant “to search for or seize any work product

 materials possessed by a person reasonably believed to have a purpose to

 disseminate to the public a newspaper, book, broadcast, or other similar form of

 public communication…” 23 Search warrants and seizures of reporters, like that in


 22 If the proposed warrant creates a “close or novel question” of whether the search involves the

 journalists’ news gathering activities, the approval of the Deputy Assistant Attorney General for
 the Criminal Division, is required, and if there is “genuine uncertainty” whether the member of
 the news media is acting within the scope of newsgathering, the Attorney General must
 personally approve the seeking of the warrant. 28 CFR 50.10(e)(2) In either case, if the warrant
 proposes to authorize a search of “the premises of a news media entity,” the Attorney General must
 personally approve the application. 28 C.F.R. 50.10(d)(2)(ii). add "The kinds of cases in which DOJ
 authorized searches of journalists' computers are usually those in which journalists are alleged to
 have committed offenses wholly apart from their newsgathering functions, like insider trading,
 threats, or possession of child pornography. Such a search warrant led to the guilty plea by
 journalist James Gordon Meek to child pornography charges on July 21, 2023 in the Eastern
 District of Virginia. See, Salvator Rizzo, Former ABC News Journalist Pleads Guilty in Child Porn
 Case, The Washington Post, July 21, 2023, available at https://www.washingtonpost.com/dc-
 md-va/2023/07/21/james-meek-abc-news-guilty-plea/ (in response to allegations that the
 search warrant was to look for classified information on Meeks' computer "Such an investigation
 would raise thorny First Amendment concerns. In 2022, acting on a pledge from President Biden
 not to seize journalists’ phone or email records, the Justice Department issued formal regulations
 restricting how federal prosecutors can pursue leak investigations. But the Meek case was never
 about his reporting, U.S. Attorney Jessica D. Aber said in a statement.")
 23 The statute continues noting an exception to this provision, noting “[t]hat a government officer

 or employee may not search for or seize such materials under the provisions of this paragraph if
 the offense to which the materials relate consists of the receipt, possession, communication, or

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 this case, serve as a prior restraint on publication, 24 and fundamentally interfere

 with First Amendment protected news gathering and reporting. 25

        Against this principle is the fact that the government is entitled to investigate

 certain crimes even if committed by journalists. But they must actually be crimes

 - not a pretext to avoid the strictures of the PPA. Thus, the PPA provides that a

 search warrant may be obtained if “there is probable cause to believe that the

 person possessing such materials has committed or is committing the criminal

 offense to which the materials relate” Id.                Similarly, under 28 C.F.R. 50.10

 (b)(1)(ii)(B), “newsgathering does not include criminal acts committed in the

 course of obtaining information or using information, such as: breaking and

 entering; theft; unlawfully accessing a computer or computer system; unlawful

 surveillance or wiretapping; bribery; extortion; fraud; insider trading; or aiding or

 abetting or conspiring to engage in such criminal activities, with the requisite

 criminal intent…” These so-called “suspect” exceptions would permit some

 searches of a journalist (with appropriate AG approvals and restrictions) if there

 was evidence that the journalist committed criminal acts (other than the receipt of




 withholding of such materials or the information contained therein” unless it relates to classified
 information. Id.
 24 Near v. Minnesota, 283 U.S. 697, 713 (1931).
 25 In Zurcher v. Stanford Daily, 436 U.S. 547, 566 (1978) the Supreme Court permitted a search

 warrant to be served on a student newspaper, noting that “There is no reason to believe, for
 example, that magistrates cannot guard against searches of the type, scope, and intrusiveness that
 would actually interfere with the timely publication of a newspaper. Nor, if the requirements of
 specificity and reasonableness are properly applied, policed, and observed, will there be any
 occasion or opportunity for officers to rummage at large in newspaper files or to intrude into or
 to deter normal editorial and publication decisions. “

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 or requesting of information) in the course of newsgathering. With this predicate

 we examine the seizure in this case.

 B.     Access To The Sworn Affidavit Is Essential to Determine The
        Validity of the Application for And Issuance of the Search
        Warrant.

        Mr. Burke is at a disadvantage when seeking the remedy of return of illegally

 seized property because he is unable to know the justification used by the

 government to conduct the search. We have requested the sworn affidavit and been

 rebuffed. We still don’t know their theory of the crimes alleged. We don’t know

 what the Magistrate Judge was told about the factual basis of the alleged offenses,

 whether the Magistrate was even told that Mr. Burke was a journalist, and that the

 government was seeking privileged information and journalist work product, or

 whether in seeking the warrant the AUSA followed DOJ policies on seeking

 personal approval by the Attorney General and specification about the protective

 measures the agents were to use to search seized computers for specific files that

 represent evidence of crime but which may be intermingled with entirely

 innocuous information. If the search strategy was influenced by legal

 considerations such as potential PPA liability, the affiant should explain how they

 are to protect First Amendment materials. 26 Similarly, we don’t know if the affiant

 or the Magistrate provided a post-seizure strategy to the searching agents to avoid

 contact with First Amendment or otherwise privileged information, or required


 26 Computer Crime And Intellectual Property Section (CCIPS) Guide to Searching and Seizing

 Computers and Obtaining Electronic Evidence in Criminal Investigations, January 2001, available
 at http://neiassociates.org/ccips/ at II(2).

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 any special minimization procedures as provided by the DOJ Computer Crime and

 Intellectual Property Section for searches involving privileged or PPA-protected

 information, or if they mandated the appointment of a Special Master or a “taint

 team.” Although none of these protective procedures would make this search

 lawful, we simply have no information on whether they were or were not imposed

 or followed.

         Other news media – most notably the Tampa Bay Times -- have

 unsuccessfully sought access to the affidavit in support of this warrant on First

 Amendment right of access to public records grounds. 27 We adopt and incorporate

 their arguments, as well as the argument that the government’s opposition to

 unsealing the affidavit is based only on vague and unsupported allegations of

 unspecified potential harm. 28

         Mr. Burke has a higher interest in disclosure of the affidavit. It was his

 materials seized, and his access to the affidavit is essential to challenge whether

 the government even was permitted to seek, much less the Magistrate had

 authority to issue, this warrant. 29 Indeed, when the subject of the investigation


 27 Times Publishing Co., Inc., v. United States, Case No.: 8:23-mc-00014-WFJ-SPF (M.D. Fl., 2023)Dkt.

 Entry. 1, p. 3.
 28 Id., Dkt. Entry 22, p. 3-6
 29 The Eleventh Circuit does not seem to have opined on the question of whether the subject of an

 investigation has a right, either under the common law, the Fourth Amendment, or Rule 41
 F.R.Crim.P. to access to an affidavit in support of a warrant in order to challenge the lawfulness
 of the warrant, but multiple other courts have found such a right. See, Societe d'Equipments
 Internationaux Nigeria, Ltd. v. Dolarian Capital, Inc., No. 15-cv-1553-DAD-SKO, 2016 WL 4191887,
 at **1-2 (E.D. Cal. Aug. 8, 2016; In re Offs. & Storage Areas Utilized by Stephen P. Amato, D.C., P.C.,
 No. 05-MJ-05-B, 2005 U.S. Dist. LEXIS 6870, at **16-23 (D. Me. Apr. 14, 2005) (holding that Fourth
 Amendment right that warrants not issue except upon probable cause “implies a right, in a person

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 seeks access to this information in order to challenge the lawfulness of the search

 and seizure, the balance tips in favor of disclosure. As the Court held in Matter of

 Up North Plastics, Inc.,940 F. Supp. 229 (D. Minn., 1996) concerns about privacy

 and general access to sealed affidavits to the public do not implicate the rights of a

 person who has been subject to a search warrant. In fact, “a person whose

 property has been seized pursuant to a search warrant has a right under the

 warrant clause of the Fourth Amendment to inspect and copy the affidavit upon

 which the warrant was issued, and the court can delay the exercise of that right

 only upon a showing of a compelling governmental interest that cannot be

 accommodated by some means less restrictive than sealing the court's records.”




 whose property has been subjected to search and/or seizure pursuant to a warrant, to challenge
 whether the warrant was in fact predicated on probable cause,” which “in turn, implies a right to
 view the underlying materials that purportedly established probable cause for the search”)
 (citations omitted); In re Search Warrants Issued on April 26, 2004, 353 F.Supp.2d 584, 587-91 (D.
 Md. 2004) (affirming magistrate judge's determination that Fourth Amendment confers pre-
 indictment right of access to redacted search warrant affidavit on target of search, where
 government failed to demonstrate compelling governmental interest in keeping affidavit sealed);
 In re Search Warrants Issued on Aug. 29, 1994, 889 F.Supp. 296, 299 (S.D. Ohio 1995) (Fourth
 Amendment right to be free of unreasonable searches and seizures includes right to examine the
 search warrant affidavit after the search has been conducted, absent government showing of
 compelling governmental interest and the unavailability of less restrictive means, such as
 redaction); In The Matter Of Amato, Docket No. 05-MJ-05-B. (D. Maine 2005); United States v. Oliver,
 No. 99-4231, 2000 WL 263954, at **2 (4th Cir. Mar. 9, 2000) (such a right exists);; Sloan v. Sprouse,
 968 P.2d 1254, 1258 (Okla. Crim. App. 1998) (same); Other courts have not found such a right.
 Matter Of The Search Of The Scranton Housing, 436 F. Supp. 2d 714, 723 (MD Penn., 2006); In re
 Grand Jury Proceedings, 115 F.3d 1240, 1246 (5th Cir.1997); In re EyeCare Physicians of Am., 100 F.3d
 514, 517 (7th Cir.1996); In the Matter of the Search of Flower Aviation of Kansas, Inc., 789 F.Supp. 366,
 369 (D.Kan.1992)(“movant has not challenged the lawfulness of the search in the manner in which
 it was executed, nor has the movant challenged the scope of the warrant.”); Bennett v. United
 States, No. 12-61499-CIV, 2013 WL 3821625, at *4 (S.D. Fla. July 23, 2013) (J. Rosenbaum). Lindell
 v. United States, 22-cv-2290 (ECT/ECW) (D. Minn. Nov. 3, 2022).

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        Likewise, in In re Extradition of Manrique, Case No. 19-mj-71055-MAG-l

 (TSH), 12-13 (N.D. Cal. Feb. 6, 2020) the District Court noted that, “[t]o permit an

 affidavit or any documents in support of a search warrant to remain sealed against

 examination by the person whose property was searched deprives him of the right

 secured by Rule 41 to challenge that search. There is nothing in Rule 41 to suggest

 that such evidence is intended to be taken in secret or without a full opportunity

 for the aggrieved person to argue that probable cause was lacking." Even if secrecy

 could be justified to keep the warrant affidavit from the press generally, where, as

 here, the government has no evidence that Mr. Burke will destroy evidence,

 threaten witnesses, or otherwise obstruct their investigation, there is no reason to

 keep him from learning why his own newsroom and work product was seized.

 Where access to the affidavit is essential for him to challenge the lawfulness of the

 search under Rule 41(g) F.R. Crim. P. and under Franks v. Delaware, 438 U.S.

 154, 156, 165-71 (1978), it must be disclosed. 30

 C.     There Was No Crime. The CFAA & Electronic Communications
        Act Cannot Be Read To Criminalize Routine Newsgathering from
        the Internet

        The government is permitted to seek a warrant to seize a newsroom only if

 it is not a “close question” of whether a crime occurred. Here, the government seeks

 to make the process of searching, finding, scraping, and indexing live feeds on the


 30 If the Court does not wish to make the affidavit public, the Court could provide a copy thereof

 to Mr. Burke and/or his counsel under seal, with directions that any subsequent filings
 referencing the affidavit similarly be either redacted in part or filed under seal, if the Court is
 convinced by the government’s arguments that release of the affidavit will result in harm to
 witnesses and possible flight of suspects.

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 public Internet into a crime. It appears to do so through a fundamental misreading

 of the provisions of the CFAA, apparently interpreting “unauthorized access” as

 “access not expressly granted.” That is not what the statute says. The relevant

 language of 18 USC 1030(a)(2)(c) makes it a crime to “intentionally access[] a

 computer without authorization or exceeds authorized access, and thereby

 obtain[] …information from any protected computer.” 31 As the Supreme Court

 noted just this term in Dubin v. United States,32 “[c]rimes are supposed to be

 defined by the legislature, not by clever prosecutors riffing on equivocal language.”

 The Supreme Court also noted that, with specific regard to the ambiguous terms in

 the CFAA, “this Court has prudently avoided reading incongruous breadth into

 opaque language in criminal statutes.” 33 The term “without authorization” cannot

 be read to mean “in a way that the owner did not want” or “for a purpose

 unintended by the owner.” To read the criminal hacking statute so broadly would

 prohibit many forms of journalism, as the purpose of investigative journalism is to

 find and report on things that persons or entities, including powerful entities like

 Fox News, may not wish disclosed.

        When Congress prohibited “access[ing] a computer without authorization,”

 (18 U.S.C. § 1030(a)), it intended to prohibit conduct “analogous to . . . ‘breaking


 31 For the purposes of this motion, we do not contest that the website Mr. Burke accessed is a

 “protected computer,” or that the list of URL’s obtained by accessing that website is
 “information.”
 32 Dkt. No. 22–10, June 8, 2023, Slip Op., 17-18 (citation omitted).
 33 Id., citing Van Buren v. United States, 593 U.S. ____, 141 S. Ct. 1648, 1661( 2021)(“the

 Government's interpretation of the [CFAA] statute would attach criminal penalties to a
 breathtaking amount of commonplace computer activity.”)

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 and entering,’” 34 That is, it prohibited “hacking.” 35 As an “anti-hacking” statute,

 the criminal provisions of the CFAA have been read narrowly, consistent with due

 process limitations on expansive reading of criminal statutes. 36 This is true where,

 as here, the broad statutory interpretations suggested by the government risk


 34 H.R.Rep. No. 98-894, 2d Sess., p. 20 (1984); US v. Nosal, 676 F. 3d 854, 857 (9th Cir.,      2012)(“The
 government's interpretation would transform the CFAA from an anti-hacking statute into an
 expansive misappropriation statute.”); Cvent, Inc. v. Eventbrite, Inc., 739 F. Supp. 2d 927, 932 ( ED
 Va., 2010)(“The CFAA is a civil and criminal anti-hacking statute designed to prohibit the use of
 hacking techniques to gain unauthorized access to electronic data.”); Fidlar Technologies v. LPS
 Real Estate Data Sols., 810 F. 3d 1075 , 1079 (7th Cir., 2016)(“The CFAA, 18 U.S.C. § 1030, is
 primarily a criminal anti-hacking statute.:); Andrews v. Sirius XM Radio Inc., 932 F. 3d 1253, 1263
 (9th Cir., 2019)(“the CFAA is "an anti-hacking statute," not "an expansive misappropriation
 statute.") citing (Nosal I) (en banc); United States v. Aleynikov, 737 F. Supp. 2d 173, 192 - (SDNY,
 2010)(“This interpretation of § 1030(a)(2)(C) comports not only with the plain meaning of the
 statutory text, but also with the overall structure and purpose of the CFAA.
 35 hiQ Labs I, supra, 938 F.3d at p. 1000; see also, e.g., United States v. Thomas (5th Cir. 2017) 877 F.3d

 591, 596 (noting the statute has an “anti hacking purpose”)
 36 Due process requires that criminal statutes provide ample notice of what conduct is prohibited.

 Connally v. Gen. Const. Co., 269 U.S. 385, 390 (1926). Vague laws that do not “provide explicit
 standards for those who apply them . . . impermissibly delegate[] basic policy matters to
 policemen, judges, and juries for resolution on an ad hoc and subjective basis.” Grayned v.
 Rockford, 408 U.S. 104, 108–09 (1972). A criminal statute that fails to provide fair notice of what is
 criminal—or threatens arbitrary and discriminatory enforcement—is thus void for vagueness.
 Skilling v. United States, 561 U.S. 358, 412 (2010) (citing Kolender v. Lawson, 461 U.S. 352, 357 (1983)).
 As a result, in attempting to interpret the provisions of a statute -- particularly a criminal statute
 like the CFAA, to attempt to punish conduct which is protected by both due process and the First
 Amendment, Courts traditionally interpret the statute narrowly in favor of the accused. United
 States v. Santos, 553 U.S. 507, 514 (2008). The Supreme Court noted that this “ensures fair warning
 by so resolving ambiguity in a criminal statute as to apply [] only to conduct clearly covered.”
 United States v. Lanier, 520 U.S. 259, 266 (1997). As the Ninth Circuit explained in analyzing the
 ambiguous “access without authorization” provisions of the CFAA, this approach “not only
 ensures that citizens will have fair notice of the criminal laws, but also that [a legislature] will
 have fair notice of what conduct its laws criminalize. We construe criminal statutes narrowly so
 that [a legislature] will not unintentionally turn ordinary citizens into criminals.” Nosal I, 676 F.3d
 at 863.; cf. Sandvig, 451 F. Supp. 3d at 88 (suggesting that the CFAA must be narrowly applied to
 “hacking” situations) Defining the term “access without authorization” should not be left to the
 vagaries of individual prosecutors to determine what kinds of conduct “are so morally
 reprehensible that they should be punished as crimes[.]” See United States v. Kozminski, 487 U.S.
 931, 949 (1988). Doing so merely “invited discriminatory and arbitrary enforcement,” of the
 CFAA See Nosal I, 676 F.3d at 862. The Constitution, however, “does not leave us at the mercy of
 noblesse oblige” by the government. United States v. Stevens, 559 U.S. 460, 480 (2010).

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 violating Mr. Burke’s First Amendment rights of speech and of the press and his

 Due Process rights. 37

        While we don’t fully know the government’s theory of the “crime” without

 access to the affidavit, it appears that the government would assert that Mr. Burke

 “should have known” that the owners of the live streams did not want him to view

 their publicly accessible data, and that the fact that the live streams were accessible

 at “non-obvious” URL’s should have put Mr. Burke on notice that these sites did

 not “authorize” his capture of the live streams. 38This is based on a fundamental

 misunderstanding of ordinary norms of Internet use. 39 It is perfectly normal for

 internet users to access streaming content in precisely the manner Mr. Burke did.

 Indeed, simple web searches for m3u8 files will bring up hundreds of such streams



 37 Courts have relied upon the canon of constitutional avoidance to narrowly interpret the CFAA

 in order to avoid creating significant risks to individuals’ First Amendment and Due Process
 rights. See Sandvig v. Barr, 451 F. Supp. 3d 73, 88–89 (D.D.C. 2020), appeal docketed, No. 20-5153
 (D.C. Cir. May 28, 2020) (“Plaintiffs’ First Amendment challenge raises such risks . . . and thus
 weighs in favor of a narrow interpretation under the avoidance canon.”Holding the CFAA does
 not criminalize mere terms-of-service violations on consumer websites.); Nosal I, 676 F.3d at 863
 (construing the CFAA narrowly “so that Congress will not unintentionally turn ordinary citizens
 into criminals”).The Supreme Court has recognized that “state action to punish the publication
 of truthful information seldom can satisfy constitutional standards.” Smith v. Daily Mail Publ’g
 Co., 443 U.S. 97, 102 (1979).
 38 With respect to Mr. Burke’s use of the public credential to access “Website-1,” the government

 may argue that the use of the shared demo credential was not explicit authorization, and again
 that Mr. Burke “should have known” that the public sharing by the account owner of the
 credential did not “authorize” the use of the shared credential. Such an interpretation -- that
 password sharing is a crime -- would create criminal liability to the more than 100 Million Netflix
 users who routinely share their own passwords. Todd Spangler, Netflix Estimates More Than 100
 Million Non-Paying Households Use Shared Passwords, Variety, Apr 19, 2022 available at
 https://variety.com/2022/digital/news/netflix-sharing-password-100-million-1235236051/
 39 Cf. Kerr, Norms of Computer Trespass (2016) 116 Colum. L.Rev. 1143, 1162 (“The first step in

 applying computer trespass law to the Web is to identify the nature of the space that the Web
 creates).

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 -- accessible simply by either clicking a link or putting a URL into a browser

 window.

        Moreover, even actual notice that a website owner does not appreciate a

 user’s access is not enough to trigger liability for “unauthorized access” under the

 CFAA, and the government’s theories to the contrary highlight the pitfalls of

 adopting such an approach. (See, hiQ Labs I, 938 F.3d at pp. 1001–02, Sandvig v.

 Barr, 451 F. Supp. 3d at pp 88-89) It is wholly unreasonable to expect a journalist

 who finds information or streaming content on a publicly accessible website to

 assume that the person or persons who put the content out there in the public

 domain “did not know” or “did not want” that content to be publicly accessible

 simply because the URL is “non-obvious.” 40 See, United States v. Morel, 922 F.3d

 1, 10–11 & fn. 9 (1st Cir. 2019)(defendant had no reasonable expectation of privacy

 in images hosted at a URL “composed of random numbers and letters” because the

 URL was nevertheless accessible to anyone who stumbled across it.) This is for

 good reason: It is difficult, if not impossible, for a user to know if a URL is “non

 obvious” from the website owner’s perspective. Visitors to a specific URL have no

 way of knowing in the abstract if unencrypted unprotected content was “private”

 and access to it was intended to be “unauthorized.”

        Further, the government’s theory that Mr. Burke, by accessing publicly

 addressable URL’s containing live streams also violated the wiretap law by



 40 Kerr, supra, 116 Colum. L.Rev. at pp. 1164– 65 “A hard-to-guess URL is still a URL, and the

 information posted at that address is still posted and accessible to the world”

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 “intercepting” (acquiring the contents of) “private” communications is similarly

 precluded by the language of the statute itself which expressly permits access to an

 “electronic communication system that is configured so that such electronic

 communication is readily accessible to the general public." 18 U.S.C. § 2511(2)(g).

 Snow v. DirecTV, Inc., 450 F. 3d 1314, 1320-21 (11th Cir., 2006). All of this should

 have been told to the Magistrate when seeking a warrant based on this theory of

 criminal liability. We suspect that it was not.

       Without a violation of the CFAA or a violation of the wiretap laws, there is

 no legal justification for the application for the warrant -- and indeed, even

 petitioning the Magistrate for the warrant violates the PPA and DOJ policy. This

 demonstrates “callous disregard” for Mr. Burke’s rights under Richey. Even if Fox

 News didn’t want Mr. Burke to report on what it had made public, and even if

 entities did not know they were publicly streaming their live feeds, the fact of the

 matter is that they were, and that they are. Accessing and collecting these feeds

 from public sources is simply not a crime.

 D.    The Execution of the Search and the Retention of the Seized Items
       Is An Unconstitutional “Prior Restraint” On Mr. Burke’s Rights
       Under the First Amendment.

       Mr. Burke suffers irreparable harm by the government’s seizure of and

 retention of his newsroom. Taking his computers, his data, his notes, his entire

 newsroom, and refusing to return them is the ultimate “prior restraint” on his free

 speech. He cannot “publish” because he cannot access either his data, his work

 product, his social media accounts, or his equipment with which to publish. He

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 cannot distribute newsworthy information because the government has taken this

 information. The “chief purpose” of the First Amendment is to prevent “previous

 restraints upon publication.” Near v. Minnesota, 283 U.S. 697, 713 (1931); see also

 Se. Promotions, Ltd. v. Conrad, 420 U.S. 546, 553 (1975) (“Our distaste for

 censorship––reflecting the natural distaste of a free people—is deep-written in our

 law.”). Prior restraints are the “most serious and the least tolerable infringement

 on First Amendment rights'' because they are “an immediate and irreversible

 sanction,” not only “chill[ing]” speech but also “freez[ing]” it, at least for a time.

 Nebraska Press Ass’n, 427 U.S. at 559. And there is a “heavy presumption against

 [the] constitutional validity” of a prior restraint under federal constitutional law.

 Prior restraints are “disfavored in this nation nearly to the point of extinction,”

 United States v. Brown, 250 F.3d 907, 915 (5th Cir. 2001).

        Not only is the seizure and continued possession of Mr. Burke’s materials a

 prior restraint, it also imposes a “chilling effect” on Mr. Burke, his media clients

 and other journalists’ future reporting. The government’s seizure of information

 about Mr. Burke’s sources and methods, who provides him information and who

 he provides information to, and other materials protected under the Florida

 journalist shield law causes irreparable harm to Mr. Burke, his sources, and the

 other journalists with whom he works. 41


 41 In other cases where the government has seized, or attempted to seize records of journalists

 who accessed and reported on public information alleging that such access was unauthorized,”
 courts have routinely rejected the government’s assertions. See, e.g., City of Fullerton v. Friends
 for Fullerton’s Future, , et al., Orange County Superior Court Case No. 30-20\9-01107063-CU-NP-
 CJC. (government paid legal fees and expenses and returned documents to civic group

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        As noted, searches and seizures from journalists are extraordinary events.

 Since the landmark Supreme Court case of Zurcher v. Stanford Daily, 436 U.S.

 547, 98 S.Ct. 1970 (1978) there have only been a handful of search warrants issued

 against journalists for information concerning their news gathering efforts. In fact,

 both Congress, 42 the Department of Justice, 43 and the Florida legislature 44 passed

 laws and promulgated regulations designed to make it presumptively unlawful for

 DOJ employees to seek warrants to obtain precisely the kind of materials from a

 journalist as were seized from Mr. Burke here.




 accessing City website and obtaining documents they were allegedly not supposed to have after
 seizure of documents and criminal investigation of group for “hacking”); John Leyden, Police
 probe Schwarzenegger audio 'hack' Sex, lies and audio-files, September 13, 2006, available at
 https://www.theregister.com/2006/09/13/schwarzenegger_audio_hack/; In the Matter of
 Brian Carmody, Dkt. No. 2516765 (Cal. Sup. Ct., County of San Francisco, August 2,
 2019)(government’s failure to inform issuing magistrate of status of subject of search warrant as
 journalist invalidated warrant). Issie Lapowsky, Shadow Politics: Meet the Digital Sleuth
 Exposing Fake News, Wired Magazine, July 18, 2018 available at
 https://www.wired.com/story/shadow-politics-meet-the-digital-sleuth-exposing-fake-news/
 (discussing the use by journalist Jonathan Albright of the CrowdTangle tool to access Facebook
 sites using an API and obtain information about Russian interference with the 2016 election.
 42 The Privacy Protection Act, 42 USC 2000aa(a)
 43 CFR 50.10 (a)(1); Final Rule Approved by AG Garland October 26, 2022, Docket No. OAG

 179; AG Order No. 5524-2022, available at
 https://www.justice.gov/d9/pages/attachments/2022/10/26/ag_order_5524-
 2022_media_policy_20221026.pdf; United States Attorney’s Manual 9-13.400; Memorandum
 of Attorney General Garland, Use of Compulsory Process to Obtain Information From, Or
 Records Of, Members of the News Media, July 19, 2021 (“the Garland Memo”) available at
 https://www.justice.gov/ag/page/file/1413001/download; Seizing Computers and Obtaining
 Electronic Evidence in Criminal Investigations Computer Crime and Intellectual Property
 Section Criminal Division Published by Office of Legal Education Executive Office for United
 States Attorneys, available at https://www.justice.gov/file/442111/download
 44 Fl. Stat. 90.5015, applicable in federal court under F.R.E. 501, see, Riley v. City of Chester,

 612 F.2d 708, 713-16 (3d Cir. 1979)(recognizing a federal common law journalist privilege);

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 V.    Conferral

       The assigned Assistant United States Attorney, Jay Trezevant, Esquire,

 opposes the Motion to Unseal and for Return of Property under Rule 41g.

 VI.   Conclusion

       Mr. Burke embarrassed Fox News by broadcasting that which they would

 have preferred not to have broadcast. He has similarly embarrassed other entities

 by providing copies of live streaming video to other news outlets for publication.

 In every case, this publicly accessible content was found through his diligence,

 perseverance, intelligence, and insight. It was not found through “hacking.” The

 data he found was public, internet-addressable, non-encrypted, unprotected

 internet content. If the sworn affidavit avers something else, this would be news

 to us. If the government urges that publication of embarrassing stories like the

 Carlson/Ye broadcast requires the express consent of Fox News, they are wrong.

 Such an assertion is novel, unsupported by the law, and inconsistent with the First

 Amendment. Mr. Burke therefore seeks an order of this court returning all seized

 materials and all copies thereof, as privileged and protected under the First

 Amendment, and an order providing a copy of the sworn affidavit in support of the

 warrant to Mr. Burke and his counsel.




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